             United States Court of Appeals
                                            for the
                                 First Circuit
                                     Case No. 25-1348

     NEW HAMPSHIRE INDONESIAN COMMUNITY SUPPORT; LEAGUE OF
     UNITED LATIN AMERICAN CITIZENS; MAKE THE ROAD NEW YORK,
                                                                Plaintiffs-Appellees,
                                             v.
     DONALD J. TRUMP, President of the United States, in their official capacity;
     U.S. DEPARTMENT OF HOMELAND SECURITY; KRISTI NOEM, in their
    official capacity as Secretary of the U.S. Department of Homeland Security; U.S.
       DEPARTMENT OF STATE; MARCO RUBIO, in their official capacity as
           Secretary of the U.S. Department of State; U.S. DEPARTMENT OF
    AGRICULTURE; BROOKE L. ROLLINS, in their official capacity as Secretary
       of the U.S. Department of Agriculture; CENTERS FOR MEDICARE AND
           MEDICAID SERVICES; MEHMET OZ, in their official capacity as
            Administrator of the Centers for Medicare and Medicaid Services,
                                                              Defendants-Appellants.
                          _____________________________
        ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
     DISTRICT OF NEW HAMPSHIRE, CONCORD, IN CASE NO. 1:25-CV-00038-JL,
            HONORABLE JOSEPH N. LAPLANTE, U.S. DISTRICT JUDGE

   BRIEF FOR AMICUS CURIAE BLACK ALLIANCE FOR JUST
IMMIGRATION, HAITIAN BRIDGE ALLIANCE AND UNDOCUBLACK
     NETWORK IN SUPPORT OF PLAINTIFFS-APPELLEES


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      Pursuant to Federal Rules of Appellate Procedure 26.1 and 29(a)(4)(a),

amici curiae the Black Alliance for Just Immigration, the Haitian Bridge

Alliance, and the UndocuBlack Network each has no parent corporation and

issues no stock.
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                              INTEREST OF AMICI 1

      Amici curiae Black Alliance for Just Immigration (“BAJI”), the Haitian

Bridge Alliance (“HBA”), and the UndocuBlack Network work on behalf of Black

immigrant communities to advance racial, social, political, and economic justice in

the United States.    BAJI fights for the rights of Black migrants and African

Americans through organizing, legal advocacy, research, policy, and narrative

building to improve the conditions of Black communities. HBA is a grassroots and

community-based nonprofit organization that provides migrants and immigrants

with humanitarian, legal, and social services, with a particular focus on Black

immigrants, the Haitian community, women and girls, LGBTQIA+ individuals, and

survivors of torture and other human rights abuses. The UndocuBlack Network

connects undocumented Black people with critical resources.            Based on their

extensive experience, Amici have a unique perspective on how discrimination has

historically infected U.S. immigration policy, and how Black immigrant

communities are particularly vulnerable to the harms arising from the challenged

Executive Order.




1
 All parties have consented to the filing of this brief. No counsel for a party authored
this brief in whole or in part and no person other than amici or their counsel made a
monetary contribution to the preparation or submission of this brief. See Fed. R.
App. P. 29(a)(4)(E).
                                           1
                                 INTRODUCTION

      Unless enjoined, the Executive Order will jeopardize over a century of

progress toward securing the entitlement to birthright citizenship guaranteed by the

Fourteenth Amendment. That progress is part of an ongoing evolution of this

country’s approach to immigration, in which the experience of Black people—both

immigrant and non-immigrant—has been a bellwether. The country must continue

to move toward rather than retreat from the Fourteenth Amendment’s vision that

“[a]ll persons born or naturalized in the United States, and subject to the jurisdiction

thereof, are citizens of the United States.” U.S. Const. amend. XIV.

      The Government argues this language was originally understood to “secure

citizenship for the newly freed slaves—not to grant citizenship to illegal aliens (a

group that did not yet exist, given the absence of federal laws restricting

immigration).”    Appellants’ Br. at 19.       But this narrative is incomplete and

misaligned with the history of U.S. immigration policy before and after the

Fourteenth Amendment’s enactment.

      In the antebellum period, movement of enslaved and free Black people was

heavily regulated by a patchwork of draconian state laws—essentially the precursor

to our modern federal immigration system—that excluded Black people from U.S.

citizenship and personhood. The Government is therefore wrong to suggest that the

Framers of the Fourteenth Amendment did not intend the Citizenship Clause to


                                           2
benefit the children of undocumented immigrants. The Framers confronted a system

that excluded children from our political community based on prejudicial beliefs

about their parents’ worthiness. That is precisely why they incorporated race-neutral

language into the Fourteenth Amendment to underscore the principle that all people

born on U.S. soil, including Black people, are citizens upon birth.

      Executive Order 14160 would undermine this bedrock constitutional

principle. The District Court had “little difficulty concluding that the denial of

citizenship status to newborns, even temporarily, constitutes irreparable harm.” New

Hampshire Indonesian Cmty. Support v. Trump, 765 F. Supp. 3d 102, 111 (D.N.H

2025). As this Brief explains, that harm is heightened for Black immigrants,

particularly pregnant Black immigrants and their infants. The historical experience

of Black people in the immigration system warns us all of the impropriety and threat

posed by the Executive Order. Given the profound impact the Order would have,

the District Court’s Order must be affirmed.

                                   ARGUMENT

I.    HISTORY REVEALS THE LONGSTANDING EXCLUSION OF
      BLACK PEOPLE FROM U.S. CITIZENSHIP AND LEGAL
      PERSONHOOD.

      Anti-Blackness has been a hallmark of federal, state, and local regulation of

migration that the nation must continue to combat. The Fourteenth Amendment

constitutionalized the principle of birthright citizenship and was an important step


                                          3
toward correcting the longstanding exclusion of Black people from citizenship. If

implemented, the Executive Order would seriously undermine the Fourteenth

Amendment’s protections and amplify racial discrimination in the U.S. immigration

system.

      A.    In the early United States, immigration was largely unregulated by
            the federal government—with the exception of slavery.

      Exclusion of Black people from U.S. citizenship was fundamental to the

nation’s pre-Civil War approach to immigration. The right to be present in the

United States was governed by a patchwork of common-law doctrines, state-based

regulation, and limited federal regulation—all rooted in race-based exclusion. The

1790 Naturalization Act, the nation’s first naturalization law, created a pathway to

citizenship solely for “free white person[s],” thus making clear that free Black

immigrants would never be citizens. See The Naturalization Act of 1790, ch. 3, 1

Stat. 103 (repealed 1795); see also Peniel Ibe, Immigration is a Black Issue, Am.

Friends Serv. Comm., https://afsc.org/news/immigration-black-issue.       Congress

then enacted the first immigration ban in 1803, which barred ship captains from

bringing free Black persons or persons of color into any state that prohibited their

entry. 2 Stat. 205, ch. 10 (1803); see also Kelly Lytle Hernandez, The Whites-Only

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Neuman, The Lost Century of American Immigration Law (1776-1875), 93 Colum.

L. Rev. 1833, 1869 (1993).
                                         4
      But unlike in our modern system, the federal government played only a minor

role in immigration enforcement before the Civil War, 2 with one conspicuous

exception—slavery. See Elizabeth Keyes, Race and Immigration, Then and Now:

How the Shift to “Worthiness” Undermines the 1965 Immigration Law’s Civil

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movement of Black people as a threat to the institution of slavery and to . . .

Whiteness.” Alina Das, No Justice in the Shadows: How America Criminalizes

Immigrants 43 (2020). Congress enacted the Fugitive Slave Laws, which authorized

slaveowners to arrest runaway slaves and mandated state and federal officials to

return them. See Fugitive Slave Act of 1793, 1 Stat. 302 (1793); Fugitive Slave Act

of 1850, 9 Stat. 462 (1850). By giving federal teeth to discriminatory state laws

controlling migration of Black people, these laws acted as the “antecedents of

American deportation policy.” Daniel Kanstroom, Deportation Nation: Outsiders

in American History 21–90 (2007).

      This federal framework buttressed a patchwork of similarly exclusionary state

laws. Several state constitutions banned the settlement of Black people. See Das,

No Justice in the Shadows, at 43. In 1822, South Carolina passed the Negro Seaman


2
 See Brief of Immigration Law and History Scholars as Amici Curiae in Support of
Respondents, Dep’t of State v. Muñoz, No. 23-334, 2024 WL 1420708, at *5 (U.S.
Mar. 28, 2024) (“Until the late nineteenth century, immigration was largely
unrestricted at the federal level.”) (Dep’t of State v. Muñoz, 602 U.S. 899 (2024))
(hereinafter “Br. of Immig. Law and History Scholars”).
                                          5
Act, which barred free Black sailors from entering state ports. See Elkison v.

Deliesseline, 8 F. Cas. 493 (C.C.D.S.C. 1823) (deeming the Negro Seaman Act

unconstitutional). 3 By 1832, several other Southern states had adopted analogous

laws; by the Civil War, Southern officials had closed the coast bordering the

Caribbean to free Black migrants, “criminalizing free Black migration.”           See

Hernandez, The Whites-Only Immigration Regime, at 6–7. During this period,

“states vigorously regulated the behavior and movement of Black people in ways

that foreshadowed the regulation of immigrants today,” such as requiring Black

people to carry proof of whether they were free or enslaved. Das, No Justice in the

Shadows, at 43. 4

      Early judicial decisions on immigration affirmed a racial hierarchy that

deemed Blackness incongruous with citizenship and lawful status. See, e.g., Moore

v. People of State of Ill., 55 U.S. 13, 18 (1852) (affirming states could bar entry of

persons to “protect themselves against the influx either of liberated or fugitive

slaves”); State v. Claiborne, 19 Tenn. 331, 341 (1838) (upholding indictment of

emancipated Black man for moving from Kentucky to Tennessee, because he was

not a citizen, and “every free State has a right to prevent foreigners going to it);


3
  State officials continued to enforce the Act even after the South Carolina Supreme
Court declared it unconstitutional. Neuman, The Lost Century, at 1875.
4
  “[I]t was the states’ desire to control Black people, free and enslaved, that
legitimated the concept of borders and the regulation of undesirable presence in the
United States in the first place.” Das, No Justice in the Shadows, at 42.
                                           6
People v. Hall, 4 Cal. 399, 403–04 (1854) (affirming exclusion of a Chinese man’s

testimony against a white miner, because he was “not of white blood,” and thus

lacked “equal rights of [federal] citizenship”). As these decisions reflect, state and

federal courts acquiesced in the “antebellum habit of subsuming control over the

movement of blacks, slave or free.” Neuman, The Lost Century, at 1880.

      Most notably, in Dred Scott v. Sandford, the Supreme Court instituted the

highest form of de jure exclusion, expressly rejecting Black people from inclusion

as “citizens” under the U.S. Constitution. 60 U.S. 393 (1857). The Court discussed

the unique status of freed slaves as the children of involuntary immigrants: “No one

of [the African] race had ever migrated to the United States voluntarily.” Id. at 411.

While the Court acknowledged those who were “born in the country, did owe

allegiance to the Government, whether they were slave or free,” id. at 420, it held

that Black people were nevertheless excluded from citizenship. Dred Scott thus

further entrenched the notion that the boundary of a migrant’s legal status is

racialized: whiteness was a prerequisite for rightful citizenship, and Blackness, a

disqualifier.

      B.        The Fourteenth Amendment was a monumental step toward
                remedying Black people’s exclusion from the American polity.

      Congress ratified the Fourteenth Amendment shortly after the Civil War,

altering U.S. immigration law by guaranteeing universal birthright citizenship. U.S.

Const. amend. XIV, § 1. The Citizenship Clause constitutionalized the ancient

                                          7
principle of jus soli, ensuring that formerly enslaved Black people were citizens from

birth, thereby directly overruling Dred Scott and resolving a split between state

courts—some of which had recognized the common law principle that entitled

birthright citizenship to persons born within U.S. territory and others of which did

not. See, e.g., Lynch v. Clarke, 1 Sand. Ch. 583, 663 (N.Y. Ch. 1844). But see State

v. Claiborne, 19 Tenn. 331, 335–36 (1838).

      The Clause’s force as a constitutional guarantee of citizenship for those born

on U.S. soil cannot be overstated.       Congress’ 1870 amendment to the 1790

Naturalization Act accorded with the Fourteenth Amendment’s spirit of dismantling

the historical exclusion of Black people from U.S. political personhood. The 1870

amendment expanded the right to naturalize to “aliens of African nativity and []

persons of African descent.” 5 Act of July 14, 1870, ch. 254 § 7, 16 Stat. 254, 256.

      In interpreting the Citizenship Clause, United States v. Wong Kim Ark

reinforced birthright citizenship as a bedrock constitutional right. 169 U.S. 649

(1898). Wong Kim Ark held that birthright citizenship under the Citizenship Clause,

applied to everyone born on U.S. soil, irrespective of parental citizenship status. The



5
  The 1870 Amendment was an important step toward racial inclusion in U.S.
immigration policy, but it neither dismantled the fundamentally anti-Black U.S.
immigration apparatus nor prevented its application to other demographics.
Notably, Asians and indigenous people were intentionally excluded from the
amendments to the 1790 Naturalization Act. See Das, No Justice in the Shadows, at
39.
                                       8
resounding “judicial and scholarly consensus” since Wong Kim Ark is that “the

Fourteenth Amendment’s grant of citizenship . . . applies regardless of the

citizenship or status of one’s parents.” Jacob Hamburger, The Consequences of

Ending Birthright Citizenship, 103 Wash. U. L. Rev. (forthcoming 2025)

(manuscript at 2) (on file at https://papers.ssrn.com/sol3/papers.cfm?abstract_

id=5106022).

      C.    Despite enactment of the Fourteenth Amendment, race-based
            exclusion remained a feature of the U.S. immigration system.

      From the 1870s to the 1920s, the federal government took a more active role

in immigration enforcement. See Br. of Immig. Law and History Scholars at 6.

While the power of the Citizenship Clause persisted, racial animus rooted in the

foundations of U.S. immigration law continued to surface.

      During this period, anti-Asian immigration policies characterized the federal

immigration regime. See Hernandez, The Whites-Only Immigration Regime, at 1–2.

Prohibiting the entry of any persons from “China, Japan, or any Oriental country”

for “lewd and immoral purposes,” the 1875 Page Act stood as a marker of the federal

government’s newly asserted authority over immigration regulation. Act of Mar. 3,

1875, ch. 141, 18 Stat. 477 (1875). The Act “was discriminatorily applied and aimed

to exclude all Chinese women based on a constructed stereotype that Chinese women

had a cultural inclination toward prostitution.”    Stewart Chang, Feminism in

Yellowface, 38 Harv. J.L. & Gender 235, 242 (2015). In Chy Lung v. Freeman, the

                                        9
U.S. Supreme Court ruled unconstitutional a California statute restricting Chinese

immigration, reasoning that the federal government had exclusive power over

immigration. 92 U.S. 275 (1875). Chy Lung and the Page Law signaled the sunset

of state control over immigration. Afterwards, “federal immigration law burgeoned

into a vast system, with regulation of race and nationality at its heart.” Kerry

Abrams, Polygamy, Prostitution, and the Federalization of Immigration Law, 105

Colum. L. Rev. 641, 706 (2005). Moreover, the 1882 Chinese Exclusion Act, which

restricted entry of Chinese migrants for ten years, further reinforced a dominant

federal immigration system and reflected the system’s deep-seated racial animus.

See Chinese Exclusion Act, ch. 126, 22 Stat 58 (repealed 1943); Neuman, The Lost

Century, at 1872.

      Federal judicial decisions from this period demonstrated ongoing racial

exclusion. Between 1878 and 1952, courts developed jurisprudence around the 1790

Naturalization Act. Non-citizens sought pathways to naturalization based on being

“free white persons.” In these cases, the U.S. Supreme Court and federal courts drew

on the common understanding of “the white ruling class in 1790.”               Karla

McKanders, Politics of Belonging: Anti-Black Racism, Xenophobia, and

Disinformation, Harv. L. Rev. Blog (Nov. 18, 2024); see, e.g., Ozawa v. United

States, 260 U.S. 178 (1922) (denying citizenship application of Japanese man

because the law’s purpose was to grant citizenship only to those with white fathers);

                                         10
see also United States v. Thind, 261 U.S. 204 (1923) (ruling that man of Indian

descent who was “ethnologically” white was not eligible for naturalization because

he was not white under popular perception).

      Federal legislation from the early twentieth century demonstrated enduring

tension between the promise of the Citizenship Clause and longstanding racial

animus in immigration governance. For example, the 1924 Johnson-Reed Act

“bann[ed] entry to all persons ineligible to become citizens” and “reserved 84

percent of the quota slots for countries in northwestern Europe.” See Hernandez,

The Whites-Only Immigration Regime, at 3. The Act effectively banned Asian

immigration, see id. at 2–3, and imposed a new visa requirement that radically

slashed Black immigration. See id. at 8. It capped immigration from any one

country in the Eastern Hemisphere to 2% of the number of foreign-born residents of

that country in the United States in 1890, effectively rolling back immigration trends

to when most immigrants were western Europeans. See Muzaffar Chishti & Julia

Gelatt, A Century Later, Restrictive 1924 U.S. Immigration Law Has Reverberations

in   Immigration    Debate,    Migration      Pol’y   Institute   (May   15,   2024),

https://www.migrationpolicy.org/article/1924-us-immigration-act-history.




                                         11
      D.     Although racially discriminatory enforcement of U.S. immigration
             laws persisted in the mid-20th century, the Fourteenth
             Amendment’s Citizenship Clause has remained a critical remedy.

      In 1940, Congress codified the Citizenship Clause through Section 1401,

which recognized birthright citizenship for “person[s] born in the United States, and

subject to the jurisdiction thereof[.]” 8 U.S.C. § 1401(a). Section 1401 is notable

because it provided a statutory basis for Black people and other communities of color

to claim birthright citizenship.

      Moreover, the 1965 Immigration and Naturalization Act (“INA”) removed the

national origins quota, creating formal equality in immigration. See 79 Stat. 911

(1965); Keyes, Race and Immigration, at 906. The Act’s legacy is “one [of]

diversifying legal migration from historically under-represented countries,” id. at

907, and it remains noteworthy for “set[ting] in motion significant demographic

changes across the nation.” Id. at 908. Nevertheless, the Act was notably flawed: it

still limited Black and Asian migrants’ entry by prioritizing family reunification,

which tended to benefit white non-citizens, who were more likely to have family in

the United States. See Hernandez, The Whites-Only Immigration Regime, at 14.

Thus, even after the 1965 Act, de facto inequality endured in immigration

enforcement. See id. at 18.

      Other post-1965 federal immigration policies exemplify the residual anti-

Blackness within the contemporary immigration system. The modern detention


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policy integral to today’s immigration system developed in response to Haitian

migrants fleeing a repressive nation to seek refuge in the United States beginning in

the 1970s. See Carl Lindskoog, How the Haitian refugee crisis led to the indefinite

detention of immigrants, Wash. Post (Apr. 9, 2018). Previously, detention was not

a major feature of U.S. immigration policy. Id. From 1954 to 1981, the federal

government relied on parole; detention was deemed inhumane and unwarranted. See

generally Carl Lindskoog, Detain and Punish: Haitian Refugees and the Rise of the

World’s Largest Immigration Detention System (2018).

      But U.S. asylum policy devolved significantly as waves of asylum seekers

began arriving in the 1970s. Id. Starting in 1972, Haitian migrants seeking political

asylum fled the Duvalier dictatorship. Id. at 14. A sharply xenophobic response to

“the arrival of . . . poor and [B]lack migrants” led the federal government to respond

by categorically denying asylum to Haitian migrants. Id. at 17–18. From 1981

onward, “[d]etention became the new immigration policy” as the federal government

“detain[ed] all undocumented Haitians without the possibility of bond.” Id. at 62–

70.   Ultimately, the government ushered in a universal detention apparatus,

transforming an anti-Haitian measure into one that included other refugees. See

Lindskoog, How the Haitian refugee crisis led to the indefinite detention of

immigrants.




                                         13
      Today, as discussed infra, the U.S. immigration system is an apparatus of

criminalization and mass deportation, entrenching age-old practices of targeting

Black people and other communities of color for exclusion, surveillance, detention,

and removal. See Alina Das, Inclusive Immigrant Justice: Racial Animus and the

Origins of Crime-Based Deportation, 52 U.C. Davis L. Rev. 171, 176 (2018).

      While more progress is needed to eradicate anti-Blackness and racial animus

from U.S. immigration law, the Fourteenth Amendment’s entitlement of birthright

citizenship is a meaningful corrective.       Any policy—including the Executive

Order—seeking to eliminate birthright citizenship would erode the Fourteenth

Amendment’s protections and intensify present-day racial inequalities in U.S.

immigration enforcement.

II.   THE EXECUTIVE ORDER WILL EXACERBATE AND ADD TO THE
      DISPROPORTIONATE HARMS THAT BLACK IMMIGRANTS—
      PARTICULARLY PREGNANT WOMEN AND THEIR U.S.-BORN
      CHILDREN—ALREADY FACE.

      Instead of shoring up the protections the Fourteenth Amendment guarantees,

the Executive Order erodes them.         The existing federal immigration system

disproportionately subjects Black immigrants to unjust treatment. The Executive

Order would increase opportunities for such unjust treatment and amplify negative

outcomes for Black immigrants—especially pregnant Black immigrants—by

depriving their U.S.-born children of birthright citizenship.



                                         14
      A.     Black immigrants disproportionately face negative immigration
             consequences in connection with racially discriminatory
             enforcement of criminal law.

      Black immigrants are unjustly subject to overly aggressive immigration

enforcement including arrests, over-detention, and deportation.        See Karla M.

McKanders, Immigration and Racial Justice: Enforcing the Borders of Blackness,

37 Ga. St. U. L. Rev. 1139, 1160–69 (2021) (describing “prison-to-deportation

pipeline” facing Black immigrants). This inequitable treatment reveals two-fold

discrimination Black immigrants are subject to through disproportionate

immigration law enforcement and unjust criminal law enforcement.             See Ibe,

Immigration is a Black Issue. Black people in America, both immigrant and non-

immigrant, are over-policed and face higher levels of state surveillance than other

groups. For example, Black people are more likely to be detained in traffic and street

stops than white or Hispanic individuals. See McKanders, Enforcing the Borders of

Blackness, at 1160. Black immigrants are therefore more likely to be swept into the

criminal justice system, exposing them to harsh immigration penalties. See id. at

1160–61 (“[E]xposure to the criminal legal system . . . is the primary way . . . Black

immigrants are placed in deportation proceedings.”).

      Immigration enforcement data reflects these racial disparities. From 2003 to

2015, despite comprising only around 5 percent of the unauthorized immigrant

population and 7 percent of all non-citizens, Black immigrants made up over 10


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percent of all immigrants in removal proceedings. Juliana Morgan-Trostle et al.,

Black All. for Just Immigr., The State of Black Immigrants: Part II 20 (2020),

https://baji.org/wp-content/uploads/2020/03/sobi-fullreport-jan22.pdf. In 2019, 66

percent of Black immigrants deported were removed on criminal grounds, compared

to 43 percent of all immigrants. Haitians see history of racist policies in migrant

treatment, PBS News (Sept. 24, 2021).

      Unequal policing and unequal immigration treatment are linked.              Most

apprehensions Immigration and Customs Enforcement (“ICE”) makes occur

because a non-citizen encounters local police, and that is largely facilitated via

Section 287(g) of the Illegal Immigration Reform and Immigrant Responsibility Act

of 1996 (“Section 287(g)”). See Criminalizing Blackness, at 9. Section 287(g)

allows the Department of Homeland Security to enter formal agreements with state

or local law enforcement, deputizing those agencies to perform certain immigration

functions including questioning arrestees regarding immigration status and

accessing federal databases. The 287(g) Program: An Overview, Am. Immigr.

Council     (2025),    https://www.americanimmigrationcouncil.org/research/287g-

program-immigration. However, at least 65 percent of the agencies participating in

the 287(g) program have established histories of racial profiling and other civil rights

violations, including racialized violence against Black and Brown individuals.

Naureen Shah et al., ACLU, License to Abuse: How ICE’s 287(g) Program

                                          16
Empowers     Racist    Sheriffs   and   Civil    Rights   Violations   32    (2022),

https://www.aclu.org/report/license-abuse-how-ices-287g-program-empowers-

racist-sheriffs. Accordingly, Black immigrants are disproportionately subject to

removal on criminal grounds.      See Morgan-Trostle et al., The State of Black

Immigrants: Part II, at 20.

      These discriminatory federal and local authorities would likely play a heavy

role in administering the Executive Order, including determining whether newborns

are eligible for citizenship based on parent status. Considering the inequities

discussed infra, Black immigrants would face disproportionate risk of being deemed

non-citizens, meaning a higher proportion of Black children will lack the protections

and opportunities of citizenship—“reinforcing the marginalization of [Black]

communities.” Ashlee Banks, Black migrants caught in the crossfire of birthright

citizenship battle, Afro News (Jan. 31, 2025), https://afro.com/black-migrants-

threatened-citizenship-trump-executive-order/.

      B.     Due to anti-Blackness within the immigration system, Black
             immigrants face systemic barriers to immigration relief, and would
             therefore suffer irreparable harm if the Executive Order is
             implemented.

      When Black immigrants seeking immigration-related relief encounter

enforcement authorities, they are more likely to encounter mistreatment, abuse, and

discrimination. For instance, Black immigrants are subject to solitary confinement

at a rate six times higher than other immigrant groups. See Ibe, Immigration is a

                                         17
Black Issue.    Certain subgroups of Black immigrants receive especially harsh

treatment: Black African migrants suffered the longest periods of ICE detention in

2019, id., and as of 2022, Haitian migrants paid an average ICE release bond of

$16,700—a startling 54 percent higher than average for other migrants. Reema

Ghabra, Black Immigrants Face Unique Challenges, Hum. Rts. First (Feb. 17, 2022),

https://humanrightsfirst.org/library/black-immigrants-face-unique-challenges/.

From 2012 to 2017, “Haitians had the second-highest denial rate at 86% for asylum

. . . .” Ibe, Immigration is a Black issue.

      Black immigrants who attempt to utilize legal immigration mechanisms

encounter uniquely unfair challenges. Black asylum seekers are disproportionately

harmed by policies that externalize the U.S. border, such as the “Remain in Mexico”

policy, which forces asylum seekers to stay outside the United States while their

claims are processed. US Discrimination Against Black Migrants, Refugees and

Asylum Seekers at the Border and Beyond, Hum. Rts. First (Aug. 8, 2022),

https://humanrightsfirst.org/library/cerd-us-discrimination-against-black-migrants-

refugees-and-asylum-seekers-at-the-border-and-beyond/.            Such      indefinite

displacement leaves Black migrants targeted for crime: Black migrants in Mexico

are singled out for extortion, murder, rape, and other violence, often at the hands of

corrupt law enforcement, cartels, and human traffickers. See id.; see generally S.

Priya Morley et al., Black All. for Just Immigr., There is a Target On Us: The Impact

                                              18
of Anti-Black Racism on African Migrants at Mexico’s Southern Border (2021),

https://baji.org/wp-content/uploads/2021/01/The-Impact-of-Anti-Black-Racism-

on-African-Migrants-at-Mexico.pdf.

      Black immigrants who cross the U.S.-Mexico border face inhumane treatment

and are grossly overrepresented in expulsion. For example, during the coronavirus

pandemic, President Biden’s administration relied on the Title 42 public health rule

to accelerate mass expulsion of Haitian migrants as Haiti’s civil and political

collapse unfolded.     Eileen Sullivan, U.S. Accelerated Expulsions of Haitian

Migrants in May, N.Y. Times (June 9, 2022). In May 2022, “Haitians represented

about 6 percent of the migrants crossing the border with Mexico but occupied 60

percent of expulsion flights . . . .” Id. During President Biden’s tenure, Border Patrol

“corrall[ed]” Haitian migrants arriving at Del Rio, Texas in ways that mirrored the

government’s historical cruelty toward fugitive slaves. Eileen Sullivan, After Del

Rio, Calls for Fairer Treatment of Black Migrants, N.Y. Times (Oct. 21, 2021).

      Structural inequalities continue to manifest at later stages of the asylum

process.   Black immigrants often lack resources for meaningful defense in

immigration proceedings. As of 2019, the median household income of Black

immigrants was lower than the national median and the median for immigrant

households. See Dedrick A. Muhammad & Janessa Chu, Racial Wealth Snapshot:

Immigration and the Racial Wealth Divide, Nat’l Cmty. Reinv. Coal. (Feb. 3, 2023),

                                          19
https://ncrc.org/racial-wealth-snapshot-immigration-and-the-racial-wealth-divide/.

This relative lack of resources means many Black immigrants struggle to obtain legal

assistance for asylum proceedings, leaving them vulnerable to unjust treatment. See

Anti-Black Discrimination within US Immigration, Detention, and Enforcement

Systems, Hum. Rts. First (Aug. 8, 2022), https://humanrightsfirst.org/library/cerd-

anti-black-discrimination-within-us-immigration-detention-and-enforcement-

systems/ (noting how “Black asylum seekers . . . face disparate treatment in

immigration   court   removal    proceedings,   including   denials   of   adequate

interpretation, lack of access to counsel, intentionally rushed proceedings, and

adjudicator bias, which result in wrongful denials of asylum”).

      Even in the context of temporary immigration relief, Black immigrants face

barriers. The Secretary of Homeland Security grants immigrants from Secretary-

designated countries Temporary Protected Status (“TPS”), which allows individuals

to live and work in the United States temporarily. Many immigrants from

predominantly Black countries, like Haiti, benefit from the TPS program. The

duration of Haiti’s TPS designation was recently shortened by President Donald

Trump’s administration, and its fate remains uncertain with expiration upcoming in

August 2025. See Partial Vacatur of 2024 Temporary Protected Status Decision for

Haiti, Dep’t of Homeland Sec. (Feb. 24, 2025), https://www.federalregister.gov/

documents/2025/02/24/2025-02970/partial-vacatur-of-2024-temporary-protected-

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status-decision-for-haiti. Black immigrants have also been significantly impacted

by President Trump’s “deep cuts to refugee admissions, and efforts to end Deferred

Action for Childhood Arrivals (DACA).” Ibe, Immigration is a Black Issue; see Ali

Vitali et al., Trump referred to Haiti and African nations as ‘shithole’ countries,

NBC News (Jan. 11, 2018).

      Given these realities, Black children born either as undocumented non-

citizens or completely stateless under the Executive Order would lack meaningful

opportunities to obtain U.S. citizenship. This would leave them in a devastating

legal limbo, leading to consequences including indefinite detention, deprivation of

certain early-childhood benefits such as healthcare and food assistance, and even

removal to countries where they have no ties. These harms—caused by an Executive

Order that squarely contravenes the constitutional and statutory entitlement of

birthright citizenship—would be near impossible for courts to adequately redress.

      C.    The Executive Order would irreparably harm pregnant Black
            immigrants and their U.S.-born children.

      The Executive Order would inflict especially devastating harms against

pregnant Black immigrants and their infants. Pregnant Black immigrants and their

infants disproportionately experience adverse maternal and infant health outcomes

compared to their non-Black counterparts. The Executive Order would exacerbate

these disparities, stripping away access to government-sponsored necessities and



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heightening maternal stress levels and pregnancy risks. It would also increase

exposure to the harms stemming from immigration enforcement.

      Moreover, the Executive Order would inflict severe dignitary harm.

Citizenship is life-defining. Permitting the Executive Order to strip the essential

entitlement of citizenship, even momentarily, would permanently violate the dignity

of affected infants and families.

             1.     The Executive Order would exacerbate the acute disparities
                    in health outcomes that pregnant Black immigrants and their
                    infants suffer.

      Maternal and infant mortality rates of Black immigrants are among the highest

in the United States. Maternal mortality research finds “Black women consistently

have the highest maternal mortality, regardless of immigration status.” Tessa Peredy

et al., Maternal Mortality Rates among Im/Migrant Populations in the United States,

Open J. Obstetrics & Gynecology, 1161, 1170 (2024). Some studies show that

African immigrant women suffer especially high rates of infant death late in

pregnancy or shortly after birth. See, e.g., Ehiremen Adesua Azugbene et al., African

Immigrant Women’s Maternal Health Experiences in Clarkston, Georgia: A

Qualitative Study, 4.1 Women’s Health Reps. 603, 604 (2023).

      During birth, pregnant Black immigrants disproportionately sustain medical

complications. Across all 2021 U.S. births to Black women, a Black mother born

abroad faced increased odds of many morbidities, including unplanned hysterectomy


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and ICU admission. See Mariah Jiles et al., Maternal and Infant Health Outcomes

in US-Born and Non–US-Born Black Pregnant People in the US, JAMA Network

Open, at 1–2 (2024); see also Tejumola M. Adegoke et al., Inequities in Adverse

Maternal and Perinatal Outcomes: The Effect of Maternal Race and Nativity,

Maternal & Child Health J., 823 (2022).

       Black immigrant women’s infants also face diminished health outcomes. A

study of metropolitan areas along the U.S. East Coast found that, compared to infants

born to both foreign- and native-born mothers of other racial groups, infants born to

Black immigrant mothers have higher rates of preterm birth, low birth weight, and

small birth size for gestational age. See Tiffany L. Green, Black and Immigrant:

Exploring the Effects of Ethnicity and Foreign-Born Status on Infant Health,

Migration Pol’y Institute, at 10–12 (2012); see also Theresa Andrasfay & Noreen

Goldman, Intergenerational Change in Birthweight: Effects of Foreign-born Status

and Race/Ethnicity, Epidemiology, 649, 653 (2020).

       The Executive Order would deepen the adverse health outcomes of pregnant

Black immigrants and their infants through two primary mechanisms. First, it will

strip away infant access to government-sponsored early-life necessities. Second, it

will raise maternal stress loads, jeopardizing the health of expectant mothers and

their infants.




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                  a.     The Executive Order would rescind access to
                         government-sponsored early life necessities.

      Early-life nutrition and medical support for infants confer significant long-

term developmental advantages. See Steven Carlson & Joseph Llobrera, Center on

Budget & Pol’y Priorities, SNAP Is Linked with Improved Health Outcomes and

Lower Health Care Costs 1–2 (2022); Sarah Miller & Laura Wherry, The Long-

Term Effects of Early Life Medicaid Coverage, 54(3) J. Hum. Res. (2019). The

absence of such care may be fatal. World Health Organization, Nearly 30 million

sick and premature newborns in dire need of treatment every year (Dec. 13, 2018),

https://www.who.int/news/item/13-12-2018-nearly-30-million-sick-and-premature-

newborns-in-dire-need-of-treatment-every-year.

      According to the U.S. Department of Agriculture, the federal Supplemental

Nutrition Assistance Program (“SNAP”), which helps low-income persons buy food,

“has never been extended to undocumented non-citizens.” SNAP Eligibility, USDA

Food & Nutrition Serv., https://www.fns.usda.gov/snap/recipient/eligibility. By

depriving U.S.-born infants of citizenship, the Executive Order would prevent them

from qualifying for SNAP. See 7 C.F.R. § 273.4(a); SNAP Eligibility for Non-




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Citizens, USDA Food & Nutrition Serv., https://www.fns.usda.gov/snap/recipient/

eligibility/non-citizen. 6

       The Executive Order would similarly eliminate infant access to Medicaid and

the Children’s Health Insurance Program (“CHIP”), programs generally available to

both citizens and “lawfully present” immigrants, including “qualified non-citizens.”

CHIP Eligibility & Enrollment, Medicaid.gov, https://www.medicaid.gov/chip/

chip-eligibility-enrollment;     Coverage    for    lawfully    present    immigrants,

HealthCare.gov,              https://www.healthcare.gov/immigrants/lawfully-present-

immigrants/. Infants without birthright citizenship because of the Executive Order

would be ineligible for these government-sponsored health programs as they would

neither be citizens nor “lawfully present” immigrants. See 42 C.F.R. § 435.406(a)

(designating only certain citizens, nationals, and qualified non-citizens as Medicaid

eligible); 42 C.F.R. § 457.320(d) (requiring, by reference to 42 C.F.R. § 435.956,

verification of citizenship or satisfactory immigration status for CHIP eligibility). 7




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  Similarly, many infants will likely lose access to federal Temporary Assistance for
Needy Families funds that alleviate poverty. See Policy Basics: Temporary
Assistance for Needy Families, Center on Budget & Pol’y Priorities (Mar. 1, 2022),
https://www.cbpp.org/research/family-income-support/policy-basics-an-
introduction-to-tanf.
7
  Nor could these infants receive private coverage through an exchange established
by the Affordable Care Act. See 42 U.S.C. § 18032(f)(3).
                                           25
                   b.     The Executive Order would heighten maternal stress
                          levels, jeopardizing maternal and infant health.

      Researchers have found that high allostatic load—an estimate for chronic

stress exposure—is associated with adverse pregnancy outcomes. See Amir J. Lueth

et al., Allostatic Load and Adverse Pregnancy Outcomes, 140 Obstetrics &

Gynecology 974 (2022). Minority women may experience notably greater exposure

to chronic stressors that diminish pregnancy outcomes and contribute to racial

disparities in health conditions generally. See Jeanne L. Alhusen et al., Racial

Discrimination and Adverse Birth Outcomes: An Integrative Review, 61 J.

Midwifery & Women’s Health 707 (2016); Allana T. Forde et al., The Weathering

Hypothesis as an Explanation for Racial Disparities in Health: A Systematic Review,

33 Annals of Epidemiology, 1, 5 (2019). The rate of increase in allostatic load for

foreign-born Black women in the United States outpaces that of nearly all other

demographic groups. See Brent A. Langellier, Allostatic Load Among U.S.- and

Foreign-Born Whites, Blacks, and Latinx, 60 Am. J. Preventive Med. 159, 159, 161

(2021).

      The Executive Order would elevate stress levels of Black immigrant mothers

and negatively affect their pregnancy outcomes. It is hard to imagine that the specter

of one’s infant being deprived of early-life necessities and placed on a deportation

flight could do anything less. As nearly half of maternal deaths take place during

the year after birth, the stress implications of the Executive Order do not bode well
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for the health of Black immigrant mothers, even after birth. Peredy et al., Maternal

Mortality Rates, at 1161–75.

            2.     The Executive Order would increase the exposure of
                   pregnant Black immigrants and their infants to the harms
                   that stem from U.S. immigration enforcement.

      The Executive Order would expose newborn children it deprives of

citizenship and their families to the pernicious conditions and outcomes of U.S.

immigration enforcement.

      The U.S. immigration system has a track-record of detaining immigrants

under appalling conditions. Inspectors of ICE facilities housing detainees from 2017

to 2019 found numerous instances of unsafe and unsanitary conditions, racial abuse,

inappropriate pepper-spraying, negligent medical care, and other problems that at

times contributed to detainee deaths. See Tom Dreisbach, Government’s own

experts found ‘barbaric’ and ‘negligent’ conditions in ICE detention, NPR (Aug.

16, 2023, 5:01AM).

      Women and children are not spared these kinds of harms. Medical records of

children in ICE detention facilities reflect substandard and inappropriate medical

care, including inadequate treatment for malnutrition, tuberculosis, and mental

health conditions. See Migrant children in U.S. detention face physical, mental

harms: report, Harvard T.H. Chan Sch. of Pub. Health (Jan. 22, 2024),

https://hsph.harvard.edu/news/migrant-children-in-u-s-detention-face-physical-


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mental-harms-report/. Women in ICE facilities also face abominable conditions,

including inhumane sleeping and sanitary conditions, sexual abuse, and severe

medical neglect such as invasive and unnecessary gynecological procedures. See

Lauren Villagran, Immigrant women describe ‘hell on earth’ in ICE detention, USA

TODAY (Mar. 23, 2025); Zeba Warsi, Hundreds of immigrants have reported

sexual abuse at ICE facilities. Most cases aren’t investigated, PBS News (July 21,

2023, 6:05AM); Camilo Montoya-Galvez, Investigation finds women detained by

ICE underwent “unnecessary gynecological procedures” at Georgia facility, CBS

News (Nov. 15, 2022); see also Nora Ellmann, Ctr. for Am. Progress, Immigration

Detention Is Dangerous for Women’s Health and Rights (Oct. 21, 2019).

      Deportation would likewise cause irreversible harm to Black immigrant

mothers and their infants. For starters, deportation risks sending infants and their

families to countries that may be unstable, jeopardizing their safety—a key point of

discussion when the government deported over twenty babies and children to Haiti

in 2021. See Ed Pilkington, Outcry as more than 20 babies and children deported

by US to Haiti, Guardian (Feb. 8, 2021). It would likely take substantial resources

for the deported families to resituate themselves abroad. It is dubious that the

government would compensate for those costs, were the Executive Order stricken as

unconstitutional and those infants allowed to return to the United States as citizens.

Indeed, deportation costs may deprive families of the resources necessary to return.

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And to the extent that the deportation of infants fractures and separates families that

are eventually reunited, the socioemotional harm that follows cannot be undone.

              3.     By depriving infants of citizenship, even temporarily, the
                     Executive Order would inflict dignitary harm that cannot be
                     undone.

       The significance of U.S. citizenship cannot be overstated, nor can the risk of

being left stateless. The U.S. Supreme Court has “recognized that the right to acquire

American citizenship is a precious one and . . . its loss can have severe and unsettling

consequences.” Fedorenko v. United States, 449 U.S. 490, 505 (1981); see also

Schneiderman v. United States, 320 U.S. 118, 122 (1943) (observing that “priceless

benefits . . . derive from [citizenship] status. . . . By many it is regarded as the highest

hope of civilized men”). The Executive Order would withhold U.S. citizenship from

Black immigrants’ infants, leaving many stateless. The resulting parade of injuries

would include no legal protections, no rights, no ability to politically participate or

travel, and limited access to education and work. See What is Statelessness?, U.S.

Comm. for Refugees & Immigrants (Sept. 13, 2024), https://refugees.org/what-is-

statelessness/.

       By depriving infants of citizenship, the Executive Order would irreparably

inflict dignitary harm. Even if the Executive Order is effective only briefly and

ultimately stricken as unconstitutional, it would create a class of Americans who

would grow up knowing they were denied citizenship at birth. They will learn that


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they were the object of a moment in which the openness of American society was at

its lowest ebb. Consequently, these Americans may be perceived by others or

themselves as second-class citizens, violating their dignity. Cf. Heckler v. Mathews,

465 U.S. 728, 739 (1984). Wholesale deprivation of citizenship and its attendant

rights could do no less. See Trop v. Dulles, 356 U.S. 86, 99–102 (1958) (holding

that forfeiture of citizenship is an unconstitutional punishment, and taking

citizenship away “is a form of punishment more primitive than torture”); see also

Maxine Goodman, Human Dignity in Supreme Court Constitutional Jurisprudence,

84 Neb. L. Rev. 740, 743 (2005) (“[T]he [U.S. Supreme] Court has repeatedly

treated human dignity as a value underlying, or giving meaning to, existing

constitutional rights and guarantees.”). Nor could such an injury be repaired or

compensated. See Chalk v. Cent. Dist. of California, 840 F.2d 701, 710 (9th Cir.

1988) (concluding a possibility of irreparable injury where injury is emotional and

psychological, and eludes monetary compensation). 8

      Such dignitary harm would be compounded by the likelihood that the

Executive Order would be enforced against Black immigrants and their infants more

fervently than others. Racial bias in the Executive Order’s implementation would


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  Though the U.S. Supreme Court has not rejected the notion that a violation of
constitutional rights creates dignitary harm, it has not set forth a clear framework for
remediating such harm. See Michael L. Wells, Compensatory Damages and
Dignitary Harm in the Upcoming Restatement of Constitutional Torts, 62 Hous. L.
Rev. 115, 133, 136 (2024).
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amplify the fundamental dignitary harm associated with its denial of citizenship. See

Inner City Contracting, LLC v. Charter Twp. of Northville, 87 F.4th 743, 751–52

(6th Cir. 2023) (recognizing “dignitary harm inherent in racial discrimination”).

III.   CONCLUSION

       For the foregoing reasons, amici respectfully ask this Court to affirm the

preliminary injunction issued by the District Court.




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     Dated: June 6, 2025    Respectfully submitted,

                            /s/ DeAnna D. Allen

Counsel for Amici Curiae




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                      CERTIFICATE OF COMPLIANCE

      I, DeAnna Allen, hereby certify that:

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29(a)(5) and 32(a)(7)(B) because it contains 6,492 words, excluding the parts of the

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      I hereby certify that I electronically filed the foregoing with the Clerk of the

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